                     Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 1 of 32

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ConvergeOne Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 1 – ___
                                                        4 ___
                                                           6 ___
                                                              1 ___
                                                                 9 ___
                                                                    4 2___ 7
                                                                           ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              10900       Nesbitt Avenue South
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Bloomington                 MN       55437
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Hennepin County
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.onec1.com
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 2 of 32

Debtor        ConvergeOne Holdings, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    9 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          ✔ A plan is being filed with this petition.

                                                          
                                                          ✔ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 3 of 32

Debtor         ConvergeOne Holdings, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        
                                         ✔ No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
                                                   District _______________________ When _______________ Case number _________________________
      separate list.
                                                                                         MM / DD / YYYY


 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an                          See Rider 1
                                         ✔ Yes. Debtor _____________________________________________               Affiliate
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Southern District of Texas
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         
                                         ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.



 12. Does the debtor own or have         
                                         ✔ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                     Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 4 of 32

Debtor      ConvergeOne Holdings, Inc.
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     
                                         ✔ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                            
                                                                            ✔ 5,001-10,000                               50,001-100,000
     creditors (on a
     consolidated basis)
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                  $10,000,001-$50 million                   
                                                                                                                        ✔ $1,000,000,001-$10 billion
     (on a consolidated
     basis)                               $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                  $10,000,001-$50 million                   
                                                                                                                        ✔ $1,000,000,001-$10 billion
     (on a consolidated
     basis)
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        04/04/2024
                                            Executed on _________________
                                                        MM / DD / YYYY


                                          /s/ Salvatore Lombardi
                                             _____________________________________________               Salvatore Lombardi
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   Chief Financial Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                     Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 5 of 32

Debtor      ConvergeOne Holdings, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Charles R. Koster
                                          _____________________________________________            Date       04/04/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Charles R. Koster
                                         _________________________________________________________________________________________________
                                         Printed name
                                         White & Case LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         609         Main Street, Suite 2900
                                         _________________________________________________________________________________________________
                                         Number      Street
                                         Houston
                                         ____________________________________________________             TX
                                                                                                         ____________  77002
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         (713) 496-9700
                                         ____________________________________                             charles.koster@whitecase.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         24128278
                                         ______________________________________________________ TX
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                 Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 6 of 32




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                      Southern District of Texas

 Case number (if known):                           Chapter   11




                                                                                                  ‫ ܆‬Check if this is an
                                                                                                      amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the
United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of ConvergeOne Holdings, Inc.

       AAA Network Solutions, Inc.
       ConvergeOne Dedicated Services, LLC
       ConvergeOne Government Solutions, LLC
       ConvergeOne Holdings, Inc.
       ConvergeOne Managed Services, LLC
        ConvergeOne Systems Integration, Inc.
        ConvergeOne Technology Utilities, Inc.
         ConvergeOne Texas, LLC
        ConvergeOne Unified Technology Solutions, Inc.
        ConvergeOne, Inc.
        Integration Partners Corporation
        NetSource Communications Inc.
        NuAge Experts LLC
        Providea Conferencing, LLC
        PVKG Intermediate Holdings Inc.
        Silent IT, LLC
        WrightCore, Inc.
             Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 7 of 32


                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    CONVERGEONE HOLDINGS, INC.,                        )    Case No. 24-___________(___)
                                                       )
                             Debtor.                   )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

             Equity Holder               Address of Equity Holder          Percentage of Equity Held

     PVKG Intermediate Holdings Inc.
                                        10900 Nesbitt Avenue South
                                                                                       100%
                                          Bloomington, MN 55437




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
          Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 8 of 32


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                     )
 In re:                                              )    Chapter 11
                                                     )
 CONVERGEONE HOLDINGS, INC.,                         )    Case No. 24-___________(___)
                                                     )
                         Debtor.                     )
                                                     )

                               CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a governmental unit, that directly or indirectly own 10% or more of
any class of the debtor’s equity interest:

                     Shareholder                           Approximate Percentage of Shares Held
           PVKG Intermediate Holdings Inc.                                   100%
                              Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 9 of 32


       Fill in this information to Identify the case:

    Debtor Name: ConvergeOne Holdings, Inc., et al.
                                                                                                                                          Check if this is an
    United States Bankruptcy Court for the:         Southern District of Texas                                                            amended filing
    Case Number (If known):          TBD




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                           professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                           services, and         or disputed     setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if       Deduction          Unsecured
                                                                                                                 partially secured     for value of       claim
                                                                                                                                       collateral or
                                                                                                                                       setoff

   1       INGRAM MICRO INC                     CONTACT: TIM HORNEF   TRADE DEBT                                                                             $39,783,078.85
           1759 WEHRL DR                        PHONE: 954-778-5244
           WILLIAMSVILLE, NY 14221              TIM.HORNEF@INGRAMMICR
                                                O.COM
   2       SCANSOURCE COMMUNICATIONS            CONTACT: GARNER BASS       TRADE DEBT                                                                        $21,216,504.95
           6 LOGUE COURT                        PHONE: 913-499-4209
           GREENVILLE, SC 29615                 GARNER.BASS@SCANSOURC
                                                E.COM
   3       GENESYS CLOUD SERVICES, INC.         CONTACT: BRANDON     TRADE DEBT                                                                              $13,210,797.73
           2001 JUNIPERO SERRA BLVD             WARREN
           DALY CITY, CA 94014                  PHONE: 303-250-2133
                                                BRANDON.WARREN@GENES
                                                YS.COM
   4       CISCO SYSTEMS CAPITAL                CONTACT: DAVE WOOSTER      TRADE DEBT                                                                         $5,154,088.59
           CORPORATION                          PHONE: 410-309-5521
           170 W. TASMAN DRIVE                  DAWOOSTE@CISCO.COM;
           SAN JOSE, CA 95134                   CSCC-AMERICAS-
                                                NOTICE@CISCO.COM
   5       ARROW ENTERPRISE COMPUTING           CONTACT: EILEEN OBRIEN     TRADE DEBT                                                                         $4,546,900.47
           SOLUTIONS INC                        PHONE: 720-235-2430
           9151 E PANORAMA CIRCLE               EOBRIEN@ARROW.COM
           CENTENNIAL, CO 80112
   6       CARAHSOFT TECHNOLOGY                 CONTACT: SHANNON      TRADE DEBT                                                                              $3,964,945.81
           CORPORATION                          LEVINSOHN
           11493 SUNSET HILLS ROAD              PHONE: 703-2307548
           SUITE 100                            SHANNON.LEVINSOHN@CAR
           RESTON, VA 20190                     AHSOFT.COM
   7       PURE STORAGE                         CONTACT: TRAVIS WORDEN     TRADE DEBT                                                                         $2,033,052.33
           2555 AUGUSTINE DR                    PHONE: 913-220-3013
           SANTA CLARA, CA 95054                TWORDEN@PURESTORAGE.
                                                COM


Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 1
                         Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 10 of 32
  Debtor: ConvergeOne Holdings, Inc., et al.                                                 Case Number (if known): TBD

   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

   8    INCONTACT, INC. DBA NICE           CONTACT: TRISTAN       TRADE DEBT                                                                            $1,739,122.05
        INCONTACT                          ADMUNDSON
        DBA NICE INCONTACT                 TRISTAN.AMUNDSON@NICE.
        75 WEST TOWNE RIDGE PKWY           COM
        TOWER1
        SANDY, UT 84070-5522
   9    BLACKBERRY CORPORATION             CONTACT: ROB PHILLIPS     TRADE DEBT                                                                         $1,677,279.34
        3001 BISHOP DRIVE #400             PHONE: 760-470-0494
        SAN RAMON, CA 94583                ROPHILLIPS@BLACKBERRY.C
                                           OM
   10   AVAYA                              CONTACT: ANDREW           TRADE DEBT                                                                           $962,233.44
        350 MT KEMBLE AVENUE               SCHOBER
        MORRISTOWN, NJ 07960               PHONE: 972-745-5225
                                           ASCHOBER@AVAYA.COM
   11   INTRADO LIFE & SAFETY SOLUTIONS    CONTACT: VANESSA HEARN    TRADE DEBT                                                                           $913,031.56
        CORP                               PHONE: 514-831-0609
        1601 DRY CREEK DRIVE               VHEARN@INTRADO.COM
        LONGMONT, CO 80503
   12   CALABRIO INC                       CONTACT: JAYME KIESTER   TRADE DEBT                                                                            $907,292.11
        ATTN: ACCOUNTS RECEIVABLE          PHONE: 317-501-8758
        241 NORTH 5TH AVENUE, SUITE 120    JAYME.KIESTER@CALABRIO.C
        MINNEAPOLIS, MN 55401              OM

   13   VERKADA INC                        CONTACT: SHAUNA           TRADE DEBT                                                                           $755,889.80
        406 E 3RD AVE                      MONTGOMERT
        SAN MATEO, CA 94401                PHONE: 303-204-5710
                                           SHAUNA.MONTGOMERY@V
                                           ERKADA.COM
   14   FIVE9 INC                          CONTACT: KEITH BUTLER     TRADE DEBT                                                                           $713,970.96
        1801 W OLYMPIC BLVD                PHONE: 678-451-3020
        FILE 2361                          KEITH.BUTLER@FIVE9.COM
        PASADENA, CA 91199-2361
   15   NECTAR SERVICES CORP               CONTACT: JAMIE RYAN       TRADE DEBT                                                                           $666,378.54
        366 N BROADWAY, SUITE 201          PHONE: 516-250-3957
        ATTN: ANTHONY FERNANDEZ            JRYAN@NECTARCORP.COM
        JERICO, NY 11753
   16   ORACLE AMERICA, INC.               CONTACT: PATRICK GRAVES TRADE DEBT                                                                             $662,725.02
        500 ORACLE PARKWAY                 PHONE: 636-497-0969
        REDWOOD CITY, CA 94065             PATRICK.B.GRAVES@ORACLE
                                           .COM
   17   TACTICAL DIGITAL CORP              CONTACT: DANIEL BRADLEY   TRADE DEBT                                                                           $626,941.77
        6200 ROLLING RD STE 2652           PHONE: 703-229-6236
        SPRINGFIELD, VA 22152              DANIEL.BRADLEY@TACDIG.C
                                           OM
   18   NUANCE INCORPORATED                CONTACT: JULIE PRATT    TRADE DEBT                                                                             $582,699.80
        8416 CAREFREE CIRCLE               PHONE: 346-218-8081
        INDIANAPOLIS, IN 46236             JULIEPRATT@MICROSOFT.CO
                                           M
   19   OPEN TEXT INC                      CONTACT: KAROL WALDRON    TRADE DEBT                                                                           $568,652.64
        2950 SOUTH DELAWARE STREET         PHONE: 520-305-0211
        SAN MATEO, CA 94403                KWALDRON@OPENTEXT.CO
                                           M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
                         Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 11 of 32
  Debtor: ConvergeOne Holdings, Inc., et al.                                                 Case Number (if known): TBD

   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

   20   INTELEPEER CLOUD                   CONTACT: JEREMY JONES     TRADE DEBT                                                                           $559,324.01
        CONMMUNICATIONS LLC                PHONE: 585-283-6156
        1855 GRIFFIN RD STE A200           JJONES@INTELEPEER.COM
        DANIA BEACH, FL 33004
   21   HYPER 30 MEDICAL LLC               CONTACT: GERMAN           TRADE DEBT                                                                           $538,397.06
        UNITED CAPITAL FUNDING CORP        PALACIOS
        PO BOX 31246                       PHONE: 727-489-3044
        TAMPA, FL 33631-3246               GPALACIOS@H30D.COM
   22   AKAMAI TECHNOLOGIES, INC.          CONTACT: SEAN O'MAHONY    TRADE DEBT                                                                           $527,125.46
        145 BROADWAY                       PHONE: 469-964-4558
        CAMBRIDGE, MA 02142                SEANO@AKAMAI.COM
   23   SWAMPFOX TECHNOLOGIES INC          CONTACT: BOB COOPER       TRADE DEBT                                                                           $512,719.32
        1337 ASSEMBLY STREET               PHONE: 803-451-4545
        COLUMBIA, SC 29201                 BOB.COOPER@SWAMPFOXI
                                           NC.COM
   24   SUMMER SOLUTIONS INC               CONTACT: ROGER SKIDMORE TRADE DEBT                                                                             $507,431.10
        4 WINDSONG WAY                     PHONE: 713-893-9110
        HOPKINTON, MA 01748                RSKIDMORE@ASASOLUTION
                                           S.COM

   25   OMILIA NATURAL LANGUAGE            CONTACT: QUINN AGEN       TRADE DEBT                                                                           $494,422.50
        SOLUTIONS LTD                      PHONE: 647-361-0741
        GLADSTONOS 55                      QUINN.AGEN@OMILIA.COM
        ROUSSOS CENTER POINT
        3RD FLOOR, OFFICE 3C-3D
        LIMASSOL 3040 CYPRUS
   26   MUTARE SOFTWARE                    CONTACT: VICKI SIDOR      TRADE DEBT                                                                           $469,905.84
        2325 HICKS RD                      PHONE: 859-979-1339
        ROLLING MEADOWS, IL 60008          VSIDOR@MUTARE.COM
   27   WATERFIELD TECHNOLOGIES            CONTACT: CRYSTAL       TRADE DEBT                                                                              $465,857.50
        ONE WEST THIRD STREET              COUTURIER
        SUITE 1115                         PHONE: 918-236-0214
        TULSA, OK 74103                    CRYSTAL.COUTURIER@WATE
                                           RFIELD.COM
   28   VERIGENT, LLC                      CONTACT: TODD MERK        TRADE DEBT                                                                           $454,014.84
        10115 KINCEY AVE SUITE 250         PHONE: 704-658-3278
        HUNTERSVILLE, NC 28078             TMERK@VERIGENT.COM
   29   IT NETWORK CONSULTANTS, LLC        CONTACT: TINA MCCOLLUM    TRADE DEBT                                                                           $443,623.76
        #1130 2321 SIR BARTON WAY SUITE    PHONE: 859-963-1911
        140                                TMCCOLLUM@ITNC.BIZ
        LEXINGTON, KY 40509
   30   SHI INTERNATIONAL CORP             CONTACT: CRYSTAL SCHULZ   TRADE DEBT                                                                           $438,710.72
        C/O OFFICE OF THE GENERAL          CRYSTAL_SCHULTZ@SHI.CO
        COUNSEL                            M
        290 DAVIDSON AVENUE
        SOMERSET, NJ 08873




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 3
                      Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 12 of 32

 Fill in this information to identify the case and this filing:


             ConvergeOne Holdings, Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                    List of Equity Holders and Corporate Ownership Statement
         ✔ Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04/04/2024
        Executed on ______________                         8 /s/ Salvatore Lombardi
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Salvatore Lombardi
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 13 of 32




                     OMNIBUS RESOLUTIONS
     OF THE BOARDS OF DIRECTORS, BOARDS OF MANAGERS, SOLE
 SHAREHOLDERS, AND SOLE MEMBERS OF THE COMPANIES LISTED BELOW

                                                         CONVERGEONE DEDICATED
    AAA NETWORK SOLUTIONS, INC.
                                                              SERVICES, LLC
    CONVERGEONE GOVERNMENT
                                                      CONVERGEONE HOLDINGS, INC.
          SOLUTIONS, LLC
     CONVERGEONE MANAGED                                 CONVERGEONE SYSTEMS
           SERVICES, LLC                                    INTEGRATION, INC.
    CONVERGEONE TECHNOLOGY                               CONVERGEONE UNIFIED
           UTILITIES, INC.                            TECHNOLOGY SOLUTIONS, INC.
     CONVERGEONE TEXAS, LLC                                CONVERGEONE, INC.
      INTEGRATION PARTNERS                            NETSOURCE COMMUNICATIONS
           CORPORATION                                            INC.
        NUAGE EXPERTS LLC                             PROVIDEA CONFERENCING, LLC
   PVKG INTERMEDIATE HOLDINGS
                                                                 SILENT IT, LLC
                INC.
         WRIGHTCORE, INC.

                                           April 2, 2024

        The undersigned, being (i) all of the directors, (ii) all of the managers, (iii) the sole
shareholder, or (iv) the sole member, as the case may be (in each case, the “Governing Body”) of
each of the companies listed above (each, a “Company” and collectively, the “Companies”),
acting pursuant to the certificate of incorporation and bylaws or similar governing documents of
each Company, as applicable, and the applicable laws of the jurisdiction in which such Company
is organized, do hereby consent to, adopt and approve, by written consent, the following
resolutions (the “Resolutions”):

       WHEREAS, each Governing Body has reviewed and considered the financial and
operational condition of their respective Company and of the Companies as a whole, including
(which word, for all purposes of these resolutions, shall be interpreted to be followed by the words,
“without limitation”) the historical performance of the Companies, the assets of the Companies,
the current and long-term liabilities of the Companies, and relevant industry and credit market
conditions, and have considered various alternatives in respect of such matters;

       WHEREAS, each Governing Body has received, reviewed, and considered the
recommendations of, and the materials presented by, the senior management of its applicable
Company and such Company’s legal, financial, and other outside professional advisors as to the
financial condition of the Companies and the relative risks and benefits of pursuing a case under
the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as
amended, the “Bankruptcy Code”);
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 14 of 32




        WHEREAS, the intention of each Governing Body is to use the Bankruptcy Code to
implement a plan of reorganization and to emerge with an improved financial position and more
sustainable capital structure;

        WHEREAS, the Governing Bodies have reviewed and considered (i) the Companies’ need
to undertake the restructuring transactions set forth in that certain restructuring support agreement
(as may be amended, modified, or supplemented from time to time, the “Restructuring Support
Agreement”), (ii) that certain joint chapter 11 prepackaged plan of reorganization for each
Company, reflecting the terms set forth in the Restructuring Support Agreement (as may be
amended, modified, or supplemented from time to time, the “Plan”) and that certain disclosure
statement supporting the Plan (as may be amended, modified, or supplemented from time to time,
the “Disclosure Statement”) under the provisions of the Bankruptcy Code in accordance with the
milestones set forth in the Restructuring Support Agreement, (iii) commencement of solicitation
of the Plan pursuant to section 1125(g) of the Bankruptcy Code, (iv) entry into and performance
under the DIP Documents, as defined herein, (v) entry into that certain equity backstop
commitment agreement, dated on or about the date hereof (as may be amended, modified, or
supplemented from time to time, the “Backstop Commitment Agreement”), which, among other
things, authorizes each Company to issue new common stock pursuant to the terms set forth
therein, and (vi) filing of a voluntary petition for relief for each Company under the Bankruptcy
Code pursuant to applicable law and in accordance with the requirements of each Company’s
governing documents and applicable law (together with the transactions contemplated by the
Restructuring Support Agreement and incorporated in the Plan and Disclosure Statement, the
“Restructuring Matters”), and have determined that it is in the best interests of each Company,
its equity holders, its creditors as a whole, and other parties in interest for the Companies to enter
into the Restructuring Support Agreement;

        WHEREAS, each Governing Body, having reviewed and considered (i) the presentations
by the Companies’ management and the legal and financial advisors of the Companies regarding
the liabilities and liquidity of the Companies, the strategic alternatives available to them, and the
impact of the foregoing on each Company’s businesses; (ii) entry into the Restructuring Support
Agreement; (iii) entry into and performance under the DIP Documents, as defined herein; and
(iv) the filing of a voluntary petition for relief for each Company under the Bankruptcy Code
pursuant to applicable law and in accordance with the requirements of each Company’s governing
documents and applicable law;

       WHEREAS, each Governing Body has reviewed and considered the Companies’ collective
need for financing in connection with the chapter 11 cases under the Bankruptcy Code, and has
determined that it is in the best interests of each Company, its equity holders, its creditors as a
whole, and other parties in interest for the Companies to enter into the ABL DIP Credit Agreement
and the Term DIP Credit Agreement (each as defined below) and one or more related agreements
and amendments thereto with the financial institutions from time to time party thereto, pursuant to
which the Companies will obtain post-petition debtor in possession financing to fund their chapter
11 cases and grant the liens required thereby;

      WHEREAS, the Restructuring Support Agreement provides that it can be terminated if
each Governing Body determines, upon advice of counsel, that proceeding with the transactions



                                                  2
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 15 of 32




contemplated thereby would be inconsistent with the exercise of its fiduciary duties or appliable
law;

       WHEREAS, each Governing Body has reviewed and considered the materials presented
by the management of each Company and each Company’s financial and legal advisors, and has
had adequate opportunity to consult such persons regarding the materials presented, obtain
additional information, and to fully consider each of the strategic alternatives available to each
Company; and

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of each Company, each Governing Body does hereby adopt the following
the resolutions:

Restructuring Support Agreement, Plan, Disclosure Statement, Solicitation, and Chapter 11
Filing

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interest of each Company, its stakeholders, its creditors, and other parties in interest, that
each Company finalize, execute, and deliver the Restructuring Support Agreement, subject to any
necessary modifications and final negotiations consistent with these Resolutions and, in
accordance with the requirements in each Company’s governing documents and applicable law,
hereby consents to, authorizes and approves, the entry into the Restructuring Support Agreement;

       RESOLVED, that in the business judgment of each Governing Body, the form, terms, and
provisions of the Restructuring Support Agreement, and the agreements and transactions
contemplated by the Restructuring Support Agreement be, and hereby are, in all respects,
authorized and approved;

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interest of each Company, its stakeholders, its creditors, and other parties in interest that
each Company commence solicitation of the Plan, pursuant to section 1125(g) of the Bankruptcy
Code and, in accordance with the requirements in each Company’s governing documents and
applicable law, hereby consents to, authorizes, and approves, the commencement of solicitation of
the Plan;

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interest of each Company, its stakeholders, its creditors, and other parties in interest, that
each Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy
Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and any other
petition for relief or recognition or other order that may be desirable under applicable law in the
United States, and, in accordance with the requirements in each Company’s governing documents
and applicable law, hereby consents to, authorizes, and approves, the filing of the Bankruptcy
Petitions; and

        RESOLVED, that any director or other duly appointed officer of each Company
(collectively, the “Authorized Persons”), which shall include the Chief Executive Officer, Chief
Financial Officer, Chief Revenue Officer, or General Counsel, shall be, and each of them


                                                  3
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 16 of 32




individually hereby is, authorized and directed for and on behalf of each Company to take all
actions (including, without limitation, to negotiate and execute any documents, certificates,
supplemental agreements, and instruments) to act as signatory on behalf of each Company in
respect of the Restructuring Matters and/or any persons to whom such Authorized Persons delegate
certain responsibilities, be, and hereby are, authorized to execute and file on behalf of each
Company all petitions, schedules, lists, and other motions, papers, or documents, and to take any
and all action that they deem necessary or proper to obtain relief in support of or related to the
Restructuring Matters, including, but not limited to, any action necessary or proper to maintain the
ordinary course operations of each Company’s or any of its subsidiaries’ businesses;

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interest of each Company, its creditors, and other parties in interest that the Authorized
Persons file or cause to be filed the Plan, the Disclosure Statement, and all other papers or
documents (including any amendments) related thereto, and to take any and all actions that the
Governing Bodies deem necessary or appropriate to pursue confirmation and consummation of a
plan of reorganization materially consistent with the Plan;

        RESOLVED, that each Authorized Person be, and hereby is, authorized, empowered, and
directed, together with the financial and legal advisors of the Companies, to file all other
documents as each, in his or her discretion, may deem necessary or desirable to confirm a plan of
reorganization materially consistent with the Plan, including, but not limited to, any amendments
to, and modifications of, the Plan and the Disclosure Statement; and

        RESOLVED, that each Authorized Person be, and hereby is, authorized, empowered, and
directed to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such instruments as each, in his or her discretion, may
deem necessary or advisable in order to consummate the Plans if confirmed by the Bankruptcy
Court.

Retention of Professionals

         RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered, and directed to employ on behalf of each Company: (i) the law firm of White & Case
LLP as general bankruptcy counsel; (ii) Evercore Group LLC as investment banker;
(iii) AlixPartners, LLP as restructuring advisor; (iv) Grant Thornton LLP as tax services provider;
(v) Epiq Bankruptcy Solutions LLC, as notice, claims, and balloting agent; and (vi) any other legal
counsel, accountants, financial advisors, restructuring advisors or other professionals the
Authorized Persons deem necessary, appropriate or advisable; each to represent and assist each
Company in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and any other applicable law (including, but not limited to, the law firms filing
any pleadings or responses); and in connection therewith, the Authorized Persons be, and hereby
are authorized, empowered, and directed, in accordance with the terms and conditions hereof, to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such professionals; and

     RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered and directed to execute and file all petitions, schedules, motions, lists, applications,


                                                 4
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 17 of 32




pleadings, and other papers, and to perform such further actions and execute such further
documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate or desirable in accordance with these Resolutions.

Use of Cash Collateral, Debtor in Possession Financing, and Adequate Protection

       WHEREAS, reference is made to that certain Amended and Restated ABL Credit
Agreement, dated January 4, 2019, by and among ConvergeOne Holdings, Inc., PVKG
Intermediate Holdings Inc., the additional subsidiary borrowers thereto, the lenders and issuing
banks party thereto, and Wells Fargo Commercial Distribution Finance, LLC, in its capacity as
administrative agent, collateral agent, floorplan funding agent, and swing line lender, as amended,
amended and restated, supplemented, or otherwise modified from time to time (the “ABL Credit
Agreement”);

        WHEREAS, reference is made to that certain First Lien Term Loan Credit Agreement,
dated January 4, 2019, by and among ConvergeOne Holdings, Inc., PVKG Intermediate Holdings
Inc., the lender parties thereto, and Deutsche Bank AG New York Branch, in its capacity as
administrative agent and collateral agent, as amended, amended and restated, supplemented, or
otherwise modified from time to time (the “First Lien Credit Agreement”);

        WHEREAS, reference is made to that certain First Lien Senior Secured Note Purchase
Agreement, dated July 10, 2020, by and among ConvergeOne Holdings, Inc., PVKG Intermediate
Holdings Inc., certain affiliates of Kennedy Lewis Investment Management LLC as holders party
thereto, and Deutsche Bank Trust Company Americas, in its capacity as administrative agent and
collateral agent, as amended, amended and restated, supplemented, or otherwise modified from
time to time (the “KL Note Purchase Agreement”);

        WHEREAS, reference is made to that certain Amended Promissory Note and Purchase and
Cashless Exchange Agreement, dated July 6, 2023, by and among ConvergeOne Holdings, Inc.,
and PVKG Investment Holdings, Inc., as holder and administrative agent, as amended, amended
and restated, supplemented, or otherwise modified from time to time (the “PVKG Note Purchase
Agreement”);

        WHEREAS, reference is made to that certain Second Lien Term Loan Credit Agreement,
dated January 4, 2019, by and among ConvergeOne Holdings, Inc., PVKG Intermediate Holdings
Inc., the lender parties thereto, and UBS AG, Stamford Branch, in its capacity as administrative
agent and collateral agent, as amended, amended and restated, supplemented, or otherwise
modified from time to time (the “Second Lien Credit Agreement” and, together with the ABL
Credit Agreement, the First Lien Credit Agreement, the First Lien Notes Purchase Agreement, and
the First Lien Promissory Note, the “Prepetition Financing Documents”);

       NOW, THEREFORE, IT IS HEREBY

        RESOLVED, that in the business judgment of each Governing Body, it is desirable and in
the best interest of each Company, its stakeholders, its creditors, and other parties in interest to
obtain the benefits of (i) the use of cash collateral, as such term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), which is security for the holders of certain Company
obligations (such holders, the “Prepetition Secured Parties”) under the Prepetition Financing


                                                  5
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 18 of 32




Documents; and (ii) the incurrence of debtor in possession financing obligations (the “DIP
Financing”) by entering into (a) that certain senior secured superpriority priming debtor-in-
possession asset-based revolving credit facility (the “ABL DIP Facility”), subject to the terms of
that certain commitment letter (the “ABL DIP Commitment Letter”), as reflected in that certain
ABL DIP facility term sheet (the “ABL DIP Facility Term Sheet”) and ABL DIP credit
agreement (the “ABL DIP Credit Agreement”) governing the ABL DIP Facility, and (b) that
certain senior secured superpriority debtor-in-possession facility in the form of multiple draw term
loans (the “Term DIP Facility” and, together with the ABL DIP Facility, the “DIP Facilities”),
as reflected in the term loan DIP term sheet (the “Term Loan DIP Term Sheet”) and term loan
DIP credit agreement (the “Term Loan DIP Credit Agreement”) governing the Term DIP
Facility;

        RESOLVED, that in order to use and obtain the benefits of DIP Financing and Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
provide certain adequate protection to the Prepetition Secured Parties (the “Adequate Protection
Obligations”) as documented in a proposed interim order approving the DIP Financing and the
use of Cash Collateral (the “Financing Order”) to be submitted for approval of the Bankruptcy
Court, and, to the extent that each Company is required to obtain consent from the Prepetition
Secured Parties to enter into any of the DIP Documents, as defined herein, such consent has been
(or will be) obtained;

         RESOLVED, that in the business judgment of each Governing Body, the form, terms, and
provisions of each of the instruments and documents governing the DIP Facilities listed below
(collectively, the “DIP Documents”), and each Company’s execution, delivery and performance
of its obligations under the DIP Documents, including without limitation the grant of security
interests under the DIP Documents, and any borrowings or guaranty therewith, be, and hereby are,
in all respects, authorized and approved:

       (a)     the ABL DIP Commitment Letter;

       (b)     the ABL DIP Facility Term Sheet;

       (c)     the ABL DIP Credit Agreement;

       (d)     the Term DIP Loan Term Sheet;

       (e)     the Term DIP Credit Agreement;

       (f)     any promissory note executed by any Company in connection with the DIP
               Facilities;

       (g)     any guarantee executed by any Company in connection with the DIP Facilities;

       (h)     any security agreement or pledge agreement executed by any Company in
               connection with the DIP Facilities;

       (i)     the Financing Order; and



                                                 6
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 19 of 32




       (j)     all other certificates, instruments, and documents executed or delivered to or in
               favor of any of the Prepetition Secured Parties, Commitment Parties (as defined in
               the DIP Documents), agents, and/or any other parties under the DIP Facilities in
               connection with the loans made and transactions contemplated under the DIP
               Documents, as the same may be amended, supplemented or replaced from time to
               time;

        RESOLVED, that to the extent applicable, each Company shall be, and is hereby,
authorized to enter into the DIP Documents and incur the obligations thereunder (the “DIP
Obligations”), and each of the Authorized Persons be, and hereby are, authorized, empowered,
and directed in the name of, and on behalf of, each Company to execute deliver, and perform all
of the obligations and the transactions contemplated under each of the DIP Documents in the name
and on behalf of each Company, with such immaterial changes, additions, and modifications
thereto as such Authorized Person shall approve, with such approval to be conclusively evidenced
by such Authorized Person’s execution and delivery thereof;

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, in the
name and on behalf of each Company, to take all such further actions, or cause all such further
actions to be taken and to execute and deliver all such further agreements, documents, instruments,
certificates recordings, and filings, in the name and on behalf of each Company, as in the
determination of such Authorized Person shall be necessary, proper, or advisable in order to fully
carry out the intent and accomplish the purposes of the foregoing resolutions and to consummate
the transactions contemplated thereby, such authority to be conclusively evidenced by the
execution of any document or the taking of any such action by such Authorized Person;

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, in the
name and on behalf of each Company, to enter into any guarantees as described or contemplated
by the DIP Documents or any other documents, certificates, instruments, agreements, intercreditor
agreements, any extension amendment, any incremental agreement, or any other amendment
required to consummate the transactions contemplated by the DIP Documents and perform its
obligations thereunder and to guarantee the payment and performance of the DIP Obligations of
each Company and any other guarantor thereunder;

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company to seek authorization to
incur the DIP Obligations and approval to use Cash Collateral pursuant to the Financing Order,
and any Authorized Person be, and hereby is, authorized, empowered, and directed to negotiate,
execute, and deliver any and all agreements, instruments, or documents, by or on behalf of each
Company, necessary to implement the postpetition financing, including the Adequate Protection
Obligations to the Prepetition Secured Parties in accordance with section 363 of the Bankruptcy
Code, as well as any additional or further agreements for entry into the DIP Documents and the
use of Cash Collateral in connection with the chapter 11 cases, which agreements may require each
Company to grant liens and other adequate protection to the Prepetition Secured Parties and each
other agreement, instrument, or document to be executed and delivered in connection therewith,
by or on behalf of each Company pursuant thereto or in connection therewith, all with such changes
therein and additions thereto as any Authorized Person approves, such approval to be conclusively
evidenced by the taking of such action or by the execution and delivery thereof;


                                                7
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 20 of 32




        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, directed,
and empowered, in the name of, and on behalf of, each Company to take such actions and negotiate
or cause to be prepared and negotiated and to execute, deliver, perform, and cause the performance
of, each of the transactions contemplated by the DIP Documents and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or required documents to
which each Company is or will be party or any order entered into in connection with the chapter
11 cases, including a final order approving the DIP Financing and the use of Cash Collateral
(together with the DIP Documents and the Financing Order, collectively, the “Financing
Documents”) and to incur and pay or cause to be paid all related fees and expenses, with such
changes, additions and modifications thereto as an Authorized Person executing the same shall
approve;

       RESOLVED, that each Company, as debtor and debtor in possession under the Bankruptcy
Code be, and hereby is, authorized, empowered, and directed to incur any and all obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents, including granting liens on its assets to secure such obligations; and

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the Financing Documents or
to do such other things which shall in his or her sole business judgment be necessary, desirable,
proper, or advisable in order to perform the DIP Obligations and to give effect to the foregoing
resolutions, which determination shall be conclusively evidenced by his or her or their execution
thereof.

Backstop Commitment Agreement

       WHEREAS, the Company has negotiated the Backstop Commitment Agreement;

       WHEREAS, the Company intends to effectuate a rights offering (the “Rights Offering”),
pursuant to which the Company will distribute to each eligible offeree rights to subscribe for and
acquire its pro rata share of shares of new common stock pursuant to the terms set forth in the
Backstop Commitment Agreement and the related procedures set forth therein.

       WHEREAS, the Company will obtain benefits from the Backstop Commitment Agreement
and the Rights Offering, and it is advisable and in the best interests of the Company to enter to the
Backstop Commitment Agreement, including the Rights Offering, and to perform its obligations
thereunder.

       NOW, THEREFORE, IT IS HEREBY

        RESOLVED, that the form, terms, and provisions of the Backstop Commitment
Agreement, and the transactions contemplated by the Backstop Commitment Agreement
(including, without limitation, the issuance of stock thereunder and the Rights Offering), and all
other exhibits, schedules, attachments, and ancillary documents or agreements related thereto, if
any, in connection therewith, be, and hereby are, authorized, adopted, and approved.



                                                 8
        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 21 of 32




        RESOLVED, in the judgment of each Governing Body, it is desirable and in the best
interests of the Company (including a consideration of its creditors and other parties in interest) to
finalize, execute, and deliver the Backstop Commitment Agreement and all other exhibits,
schedules, attachments, and ancillary documents or agreements, including the Rights Offering,
subject to appropriate modifications and final negotiations, and the Company’s performance of its
obligations thereunder.

General

        RESOLVED, that each Company is hereby authorized to authorize (and each Company
hereby authorizes) any direct or indirect subsidiary of each Company or any entity of which such
Company or any subsidiary of such Company is the sole member, general partner, managing
member, or equivalent manager, as applicable, to take each of the actions described in these
resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
any such subsidiary or such Company’s interest therein (including without limitation, any
automatic dissolution, divestiture, dissociation, or like event under applicable law);

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, the Authorized Persons (and their designees and delegates), either
individually or as otherwise required by each Company’s governing documents and applicable
law, be, and each of them hereby is, authorized to execute, acknowledge, deliver, and file any and
all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
other documents on behalf of each Company relating to the Restructuring Matters;

        RESOLVED, that each of the Authorized Persons (and their designees and delegates) be,
and hereby is, authorized and empowered, in the name of and on behalf of each Company, to take
or cause to be taken any all such other and further action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, including but not limited to filing fees, in each case as in such Authorized Person’s or
Authorized Persons’ absolute discretion, shall be necessary, appropriate, or desirable in order to
fully carry out the intent and accomplish the purposes of the resolution adopted herein;

        RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the governing documents of each Company, or hereby waives any right to have received such
notice;

         RESOLVED, that all acts, agreements, transactions, and certificates relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of each Governing Body; and




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        Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 22 of 32




        RESOLVED, that any Authorized Person (and their designees and delegates) be, and each
of them hereby is, authorized to do all such other acts, deeds and other things as each Company
itself may lawfully do, in accordance with its governing documents and applicable law, howsoever
arising in connection with the matters above, or in furtherance of the intentions expressed in the
foregoing resolutions, including, but not limited to, the negotiation, finalization, execution and
delivery of any other agreements, certificates, instruments, powers of attorney, letters, forms,
transfer, deeds and other documents whatsoever as the individual acting may in his/her absolute
and unfettered discretion approve, deem or determine necessary, appropriate or advisable, such
approval, deeming or determination to be conclusively evidenced by said individual taking such
action or the execution thereof.

                                 *       *      *      *        *

                                     [Signature Pages Follow]




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       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 23 of 32




                              SECRETARY’S CERTIFICATE

        The undersigned, being duly elected as General Counsel and Secretary of PVKG
Intermediate Holdings Inc. (“PVKG”), a Delaware Corporation, hereby certifies that (i) the
attached resolutions are true and correct copies of the resolutions adopted by the members of the
special committee of PVKG’s Board of Directors on behalf of PVKG at a meeting of PVKG’s
Board of Directors held on April 2, 2024; and (ii) these resolutions have not been amended or
modified or superseded in any way as of the date of this Certificate.

       IN WITNESS WHEREOF, I have set my hand this 2nd day of April, 2024.



                                                By: ____________________________________
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                                                     Rui
                                                      u Goncalves
                                                      ui
                                                     General Counsel and Secretary




                           [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 24 of 32




                              SECRETARY’S CERTIFICATE

        The undersigned, being duly elected as General Counsel and Secretary of ConvergeOne
Holdings, Inc. (“ConvergeOne”), a Delaware Corporation, hereby certifies that (i) the attached
resolutions are true and correct copies of the resolutions adopted by the members of the special
committee of ConvergeOne’s Board of Directors on behalf of ConvergeOne at a meeting of
ConvergeOne’s Board of Directors held on April 2, 2024; and (ii) these resolutions have not
been amended or modified or superseded in any way as of the date of this Certificate.

       IN WITNESS WHEREOF, I have set my hand this 2nd day of April, 2024.



                                               By: ____________________________________
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                                                    Rui
                                                      u Goncalves
                                                    General Counsel and Secretary




                           [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 25 of 32




         IN WITNESS WHEREOF, the undersigned has duly executed this consent as of the date
first set forth above.

                       CONVERGEONE HOLDINGS, INC., THE SOLE
                       SHAREHOLDER OF:

                       CONVERGEONE, INC.




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                                            By: ____________________________________
                                                 Rui
                                                  u Goncalves
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                                                 General Counsel and Secretary




                         [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 26 of 32




         IN WITNESS WHEREOF, the undersigned has duly executed this consent as of the date
first set forth above.

                       CONVERGEONE, INC., THE SOLE SHAREHOLDER OF:

                       AAA NETWORK SOLUTIONS, INC.
                       CONVERGEONE SYSTEMS INTEGRATION, INC.
                       CONVERGEONE UNIFIED TECHNOLOGY SOLUTIONS, INC.
                       INTEGRATION PARTNERS CORPORATION
                       NETSOURCE COMMUNICATIONS INC.
                       WRIGHTCORE, INC.




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                                                  u Goncalves
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                                                 General Counsel and Secretary




                         [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 27 of 32




         IN WITNESS WHEREOF, the undersigned has duly executed this consent as of the date
first set forth above.

                       CONVERGEONE SYSTEMS INTEGRATION, INC., THE SOLE
                       MEMBER OF:

                       CONVERGEONE MANAGED SERVICES, LLC
                       CONVERGEONE DEDICATED SERVICES, LLC




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                                            By: ____________________________________
                                                  u Goncalves
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                                                 General Counsel and Secretary




                         [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 28 of 32




         IN WITNESS WHEREOF, the undersigned has duly executed this consent as of the date
first set forth above.

                       CONVERGEONE UNIFIED TECHNOLOGY SOLUTIONS, INC.,
                       THE SOLE SHAREHOLDER OF:

                       CONVERGEONE TECHNOLOGY UTILITIES, INC.




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                                            By: ____________________________________
                                                  ui Goncalves
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                                                 General Counsel and Secretary




                         [Signature Page to Omnibus Resolutions]
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 29 of 32




         IN WITNESS WHEREOF, the undersigned has duly executed this consent as of the date
first set forth above.

                       CONVERGEONE, INC., THE SOLE MEMBER OF:

                       CONVERGEONE TEXAS, LLC
                       NUAGE EXPERTS LLC
                       PROVIDEA CONFERENCING, LLC
                       SILENT IT, LLC




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                                            By: ____________________________________
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                                                  u Goncalves
                                                 Rui Goncalves
                                                 General Counsel and Secretary




                         [Signature Page to Omnibus Resolutions]
Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 30 of 32
Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 31 of 32
       Case 24-90194 Document 1 Filed in TXSB on 04/04/24 Page 32 of 32




         IN WITNESS WHEREOF, the undersigned have duly executed this consent as of the date
first set forth above.

                       THE BOARD OF MANAGERS OF:

                       CONVERGEONE GOVERNMENT SOLUTIONS, LLC



                                                 ____________________________________
                                                  Phillip Panzarella



                                               _____________________________________
                                                 Mary Corrado



                                                _______________________
                                               _____________________________________
                                                 Jason Friend




                          [Signature Page to Omnibus Resolutions]
